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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                       ______

ALRELIO EVANS,

                      Plaintiff,                   Case No. 1:20-cv-833

v.                                                 Honorable Paul L. Maloney

KEVIN BREGE et al.,

                      Defendants.
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                                         JUDGMENT

              In accordance with the opinion issued this date:

              IT IS ORDERED that Plaintiff’s action is DISMISSED WITH PREJUDICE for

failure to state a claim pursuant to 28 U.S.C. §§ 1915(e) and 1915A, and 42 U.S.C. § 1997e(c).



Dated:   September 25, 2020                        /s/ Paul L. Maloney
                                                   Paul L. Maloney
                                                   United States District Judge
